                                                                              ORDER:
                                                                              Motion granted. The
                                                                              Revocation hearing is reset to
                                                                              October 1, 2013, at 10:30 a.m.
                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )                        U.S. Magistrate Judge
                                                     )
v.                                                   )       Case No.: 3:13-00097-11
                                                     )       Magistrate Judge Knowles
FLETCHER DENNING                                     )

                   MOTION TO CONTINUE REVOCATION HEARING

       COMES NOW Benjamin H. Perry, counsel for Defendant Fletcher Denning, and

respectfully moves this Honorable Court for the entry of an Order continuing the Revocation

Hearing set in this matter from September 16, 2013 at 10:30 a.m., to a later date that is convenient

to the Court and counsel. In support hereof, undersigned counsel would state that:

       1.      On August 29, 2013, the Court entered an Order scheduling a Revocation Hearing

for Defendant Denning on September 16, 2013 at 10:30 a.m.        (Docket Entry 256).

       2.      Undersigned counsel has just completed back to back federal criminal jury trials

(United States v. Ahmed, et al., Criminal Case No. 3:11-00132 in front of Chief Judge Haynes July

23-26, 2013 & United States v. Duncan, et al., Criminal Case No. 3:09-00012 in front of Judge

Sharp August 6-23, 2013).

       3.      Undersigned counsel has a much needed family vacation scheduled September 14

– 28, 2013.

       4.      Assistant United States Attorney Brent Hannafan has authorized undersigned

counsel to report that the government has no objection to the requested continuance.

       WHEREFORE, based on the foregoing, undersigned counsel respectfully requests that

this Honorable Court grant this Motion.



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